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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


 JOHN AND JANE DOES 1 TO 9, et al.,

                Plaintiffs,
                                                                  Civil Action Nos.
        v.                                                  25-0325 (JMC), 25-0328 (JMC)

 DEPARTMENT OF JUSTICE, et al.,

                Defendants.


     DEFENDANTS’ SUPPLEMENT IN RESPONSE TO THE COURT’S REQUEST

       Pursuant to the Court’s request during the April 30, 2025, motions hearing, Defendants

submit this supplement to provide the Court the updated links to the materials cited in Defendants’

Opposition to Plaintiffs’ Motion for Preliminary Injunction (“PI Opp’n,” ECF No. 34) at 13.

       Defendants cited to FBI Ethics & Integrity Program Policy Guide § 7.1 (Feb. 2, 2015). Id.

A full copy of that document can be accessed through the following link: https://vault.fbi.gov/fbi-

ethics-and-integrity-program-policy-guide/ (last visited on May 1, 2025).

       Defendants also cited to Media Relations, External Communications, and Personal Use of

Social Media § 4.2.4 (Nov. 14, 2017). PI Opp’n (ECF No. 34) at 13. A full copy of that document

can be accessed through the following link: https://vault.fbi.gov/public-affairs-policy-guide-

media-relations-external-communications-and-personal-use-of-social-media-1002pg (last visited

on May 1, 2025).



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Dated: May 1, 2025              Respectfully submitted,

                                EDWARD R. MARTIN, JR., D.C. Bar #481866
                                United States Attorney

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